        Case 2:10-cr-00994 Document 14 Filed on 10/07/10 in TXSD Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §   MAG. ACTION NO. C-10-1006-1
                                               §
GERARDO GARCIA                                 §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)    There is a serious risk that the defendant will not appear; and

         (2)    There is a serious risk that the defendant will endanger the safety of another

person or the community.

         The evidence against the defendant meets the probable cause standard.            The

findings and conclusions contained in the Pretrial Services Report are adopted. The

defendant’s background information has not been verified, and he has not produced a

cash deposit, a co-surety, or a third party custodian, and the defendant was involved in

holding a material witness against his will. This order of detention is entered without

prejudice to the defendant’s right to re-urge a bond after his background information has

been verified

         The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending


1/2
      Case 2:10-cr-00994 Document 14 Filed on 10/07/10 in TXSD Page 2 of 2




appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 7th day of October, 2010.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




2/2
